Appellate Case: 23-9509   Document: 010110886239      Date Filed: 07/11/2023   Page: 1



                   UNITED STATES COURT OF APPEALS
                       FOR THE TENTH CIRCUIT

 STATE OF UTAH, by and through )
 its Governor, SPENCER J. COX, )
 and its Attorney General,     )
 SEAN D. REYES,                )
                               )
                  Petitioner,  )
                               )
 v.                            )                    Case No. 23-9509
                               )
 U.S. ENVIRONMENTAL PROTECTION )
 AGENCY and MICHAEL S. REGAN,  )
 Administrator, U.S. EPA,      )
                               )
                  Respondents. )

             STATE OF UTAH’S REPLY IN SUPPORT OF ITS
              MOTION TO STAY THE FINAL RULE OF THE
             U.S. ENVIRONMENTAL PROTECTION AGENCY

  Emily C. Schilling                        Sean D. Reyes
  HOLLAND & HART LLP                        ATTORNEY GENERAL OF UTAH
  222 South Main Street, Suite 2200         Melissa A. Holyoak
  Salt Lake City, UT 84101                  SOLICITOR GENERAL
  Ph. 801-799-5753                          Counsel of Record
  ecschilling@hollandhart.com               Office of the Attorney General
                                            Utah State Capitol Complex
  Kristina (Tina) R. Van Bockern            350 North State Street Suite 230
  Aaron B. Tucker                           Salt Lake City, UT 84114-2320
  HOLLAND & HART LLP                        Ph. 801-538-9600
  555 Seventeenth Street, Suite 3200        melissaholyoak@agutah.gov
  Denver, CO 80202
  Ph. 303-295-8107                          William L. Wehrum
  trvanbockern@hollandhart.com              WEHRUM ENVIRONMENTAL LAW
  abtucker@hollandhart.com                  LLC
                                            1629 K Street, NW, Suite 300
                                            Washington, D.C. 20006
                                            Ph. 302-300-0388
                                            William_Wehrum@comcast.net
                                            Attorneys for Petitioner State of Utah



                                        1
Appellate Case: 23-9509        Document: 010110886239             Date Filed: 07/11/2023        Page: 2



                                 TABLE OF CONTENTS

                                                                                                Page

 TABLE OF AUTHORITIES ...................................................................... ii

 I.     Venue Will Appropriately Be Decided by the Merits Panel. ........... 1

 II.    Utah is Likely to Succeed on the Merits. ......................................... 2

 III.   Utah is Irreparably Harmed by EPA’s SIP Disapproval. ............... 5

 IV.    The Balance of Equities Supports a Stay. ....................................... 8

 CONCLUSION .......................................................................................... 9

 CERTIFICATE OF COMPLIANCE ........................................................ 11

 CERTIFICATE OF SERVICE................................................................. 11




                                                   i
Appellate Case: 23-9509         Document: 010110886239             Date Filed: 07/11/2023         Page: 3



                               TABLE OF AUTHORITIES

                                                                                             Page(s)
                                                CASES

 Allete v. EPA,
    No. 23-1776, Doc. 5292580 (8th Cir. July 5, 2023) .............................. 7

 Alaska Dept. of Envtl. Conservation v. EPA,
   540 U.S. 461 (2004) ............................................................................... 3

 Equifax Servs., Inc. v. Hitz,
   905 F.2d 1355 (10th Cir. 1990) ............................................................. 2

 La. Envtl. Action Network v. EPA,
   955 F.3d 1088 (D.C. Cir. 2020) ............................................................. 8

 Nevada Cement Co. v. EPA,
   No. 23-682, Doc. 27.1 (9th Cir. July 3, 2023) ....................................... 7

 North Dakota v. EPA,
   730 F.3d. 750 (8th Cir. 2013) ................................................................ 5

 Noxell Corp. v. Firehouse No. 1 Bar-B-Que Rest.,
   760 F.2d 312 (D.C. Cir. 1985) ............................................................... 2

 Texas v. EPA,
   2023 U.S. App. LEXIS 13898 (May 1, 2023) ........................................ 6

                                              STATUTES

 28 U.S.C. § 1292(a)(1)................................................................................ 2

                                      FEDERAL REGISTER

 87 Fed. Reg. 31,470 (May 24, 2022) ...................................................... 4, 7

                                                RULES

 Fed. R. App. P. 25(c) ................................................................................ 11

 Fed. R. App. P. 27(d)(1)-(2) ...................................................................... 11


                                                    ii
Appellate Case: 23-9509         Document: 010110886239             Date Filed: 07/11/2023         Page: 4



 Fed. R. App. P. 27(d)(1)(E) ...................................................................... 11

 Fed. R. App. P. 32(f) ................................................................................ 11

                                     OTHER AUTHORITIES

 EPA, Interim Final Rule Amending GNP in Response to Stay
   Orders (Prepublication Version),
   https://www.epa.gov/system/files/documents/2023-
   06/Interim%20final%20rule%20amending%20GNP%20in%20re
   sponse%20to%20stay%20orders%20-
   %20prepublication%20version.pdf ....................................................... 7




                                                    iii
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 5



       Utah’s Motion demonstrated that EPA’s disapproval of Utah’s

 Interstate Transport SIP is unlawful and will cause irreparable harm to

 Utah and its citizens pending judicial review. The Court should grant a

 stay to protect Utah’s sovereign interests, and to ensure affordable and

 reliable energy for Utah’s citizens. EPA’s response does nothing to

 overcome the need for a stay.

 I.    Venue Will Appropriately Be Decided by the Merits Panel.

       EPA attempts to circumvent the Court’s prior orders by requesting

 denial of Utah’s and Industry Petitioners’ stay motions on the basis that

 they were filed in “the wrong forum.” Resp. at 14. But the Court’s orders

 contemplate early briefing (and presumably decision) on the stay

 motions, and then subsequent decision on venue and the merits by the

 merits panel.

       This Court’s April 27 Order unequivocally referred the question of

 the proper venue for petitioners’ challenges to the merits panel. Doc.

 010110851072 at 4. Then, the Court’s April 28 Order confirmed that “the

 possibility of transfer or dismissal will not be considered until these

 petitions have been briefed on the merits.” Doc. 010110851717 at 5–6

 (emphasis added). The Court’s May 30 Order directed that briefing on



                                        1
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 6



 renewed stay motions occur before briefing on the merits. Doc.

 010110866083 at 4–5.

       None of the Court’s orders suggests that venue must be decided

 before the Court can rule on stay motions. And EPA’s reliance on Noxell

 Corporation v. Firehouse No. 1 Bar-B-Que Restaurant, 760 F.2d 312, 315

 (D.C. Cir. 1985), to argue just that is misplaced. See Resp. at 15. Noxell

 issued no such ruling. Instead, the Noxell court decided whether it could

 review a cross-appeal claiming improper venue in an interlocutory appeal

 from a denial of an injunction under 28 U.S.C. § 1292(a)(1). 760 F.2d at

 314–15. That is not the situation here; this is a direct action authorized

 by the CAA.

       In any event, this Court declined to exercise its discretion, in line

 with Noxell’s holding, to review venue in an appeal affirming a

 preliminary injunction, stating “we see no compelling reasons to do so[.]”

 Equifax Servs., Inc. v. Hitz, 905 F.2d 1355, 1362 (10th Cir. 1990).

 II.   Utah is Likely to Succeed on the Merits.

       EPA correctly states that its role under the CAA is limited to

 assessing whether Utah’s SIP submission complied with the Interstate

 Transport Provision. See Resp. at 4, 6, 20. But EPA insists that its



                                        2
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 7



 oversight authority allows it to formulate an approach—found nowhere

 in the CAA or implementing regulations—for determining significant

 contribution, and then review the adequacy of Utah’s SIP against this

 approach based on a policy preference for national consistency.1 Id. at 9–

 12. Indeed, EPA is using its policy-based approach as the yardstick for

 measuring acceptability of proposed SIPs, asserting that a departure

 from its policy-based approach would be approvable only if “substantially

 justified” (a standard which also is undefined). But the CAA does not

 afford EPA such broad discretion. See Utah Mot. at 8–15.

       In the absence of clear statutory or regulatory direction as to how

 States must determine significant contribution, EPA’s role is limited to

 objectively assessing whether Utah’s approach meets the CAA. See id.

 EPA failed to conduct such an objective assessment.




 1 EPA claims its decision to apply a policy-based approach to disapprove
 Utah’s SIP is due “particular deference.” Resp. at 16. But EPA is
 mistaken. Where, as EPA admits, “states enjoy wide discretion in
 formulating SIPs, [under] 42 U.S.C. § 7410(a)(2)(A),” Resp. at 21
 (emphasis in original), it is Utah’s approach developed to comply with the
 Ozone Transport Provision that deserves deference. See Alaska Dept. of
 Envtl. Conservation v. EPA, 540 U.S. 461, 518 (2004) (Kennedy, J.,
 dissenting).

                                        3
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 8



       EPA asserts that it “fully consider[ed] any alternative approaches

 Utah put forward” and claims that it “did not treat Utah dissimilarly

 from Arizona.” Resp. at 10, 19. The record demonstrates otherwise. First,

 one factor is not “dispositive” under the weight-of-evidence standard

 approved in the Arizona SIP, Utah Mot. at 13, yet EPA relies entirely on

 modeled contribution thresholds to find significance, dismissing Utah’s

 assessment of other factors. Resp. at 18–19.

       Second, Utah did not claim it is “relieved” of its obligations because

 of other states’ contributions, Resp. at 19, but appropriately weighed the

 “magnitude” of upwind states’ collective contribution (including Utah’s

 contribution) consistent with the weight-of-evidence approach. Utah Mot.

 at 14.

       Finally, EPA incorrectly asserts that total modeled upwind

 contributions to Colorado are as high as 11%. Resp. at 11. EPA’s modeled

 contributions are, in fact, between 6% and 8%—as compared to between

 2% and 4% in Arizona’s SIP. 87 Fed. Reg. 31,470, 31,481 (May 24, 2022);

 Utah Mot. at 14. EPA rejected Utah’s weight-of-evidence approach

 because combined upwind contributions to the Denver area were “higher”

 than the amount considered “negligible” in the Arizona SIP. 87 Fed. Reg.



                                        4
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 9



 at 31,481. But EPA has never codified a threshold for upwind

 contribution to be “significant.” And, here, EPA provided no explanation

 as to why “twice the magnitude” is an appropriate basis for rejecting

 Utah’s weight-of-evidence approach, particularly where these upwind

 contributions pale in comparison to the substantial upwind contributions

 in the East. Resp. at 20; Utah Mot. at 14. EPA’s “because I said so”

 rationale is arbitrary to its core.

        Under the approach EPA recommended in its 2018 Memoranda and

 approved in Arizona’s SIP, Utah concluded that it did not significantly

 contribute to downwind air quality problems. Utah Mot. at 14. Because

 Utah’s approach is “reasonably moored” to the Interstate Transport

 Provision and grounded in sufficient facts, EPA had no choice but to

 approve it. See North Dakota v. EPA, 730 F.3d. 750, 761 (8th Cir. 2013).

 III.   Utah is Irreparably Harmed by EPA’s SIP Disapproval.

        EPA is mistaken that Utah is harmed not by EPA’s SIP

 disapproval, but by the FIP. See Resp. at 23–24. The SIP disapproval

 directly harms Utah’s sovereign interests. EPA’s only response is that

 those harms depend on the success of this challenge. Id. Not so. Utah is

 currently harmed as it cannot implement its own CAA-based program as



                                        5
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 10



  contemplated by the CAA’s cooperative federalism framework. Utah Mot.

  at 15–16. Indeed, whatever the consequence of a SIP disapproval—

  whether Utah must submit revised SIPs or start regulating facilities

  pursuant to a FIP—it necessarily imposes a regulatory burden on the

  State. Id. at 17–8.

        The SIP disapproval is also the proximate cause of all harms to

  Utah, Utah citizens, and affected sources in Utah, imposed by the FIP.

  See Utah Mot. at 15–18.

        Without the SIP disapproval, EPA has no legal authority under the

  CAA to impose a FIP. Id.; see also Texas v. EPA, 2023 U.S. App. LEXIS

  13898, *28 (May 1, 2023) (“The Final SIP Denial was the statutory

  prerequisite for the EPA to create the Final FIP and impose its preferred

  system of emissions controls and reductions on the States.”). EPA itself

  recognizes this. In response to the various judicial stays issued by the

  Fifth, Sixth, and Eighth Circuits, EPA issued an interim final rule on

  June 29 amending the FIP “to stay, for emissions sources in Arkansas,

  Kentucky, Louisiana, Mississippi, Missouri, and Texas only, the




                                        6
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 11



  effectiveness of the [FIP] requirements.”2 Since then, two more Circuit

  Courts have issued stay orders. See Nevada Cement Co. v. EPA, No. 23-

  682, Doc. 27.1 (9th Cir. July 3, 2023) (Nevada’s SIP); Allete v. EPA, No.

  23-1776, Doc. 5292580 (8th Cir. July 5, 2023) (Minnesota’s SIP).

        Similarly, EPA mistakenly claims that Utah’s harms flow from the

  2019 Finding of Failure. Resp. at 24. EPA issued the Finding of Failure

  based on a minor procedural oversight. Utah Mot. at 6. EPA did not object

  to or otherwise comment on the substance of Utah’s SIP submission. Id.

  Utah corrected that procedural flaw and resubmitted its SIP a month

  later. Id.

        EPA’s subsequent denial of Utah’s SIP was based on entirely

  substantive issues that EPA (1) identified in the resubmitted SIP, (2) did

  not raise when it issued the Finding of Failure, and (3) asserted for the

  first time in the SIP disapproval process. See 87 Fed. Reg. 31,475 (May

  24, 2022). The record demonstrates that the SIP disapproval—not the




  2 See EPA, Interim Final Rule Amending GNP in Response to Stay
  Orders       (Prepublication         Version),   available  at
  https://www.epa.gov/system/files/documents/2023-
  06/Interim%20final%20rule%20amending%20GNP%20in%20response%
  20to%20stay%20orders%20-%20prepublication%20version.pdf.

                                        7
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 12



  prior Finding of Failure—is the only plausible source of authority for FIP

  issuance.

  IV.   The Balance of Equities Supports a Stay.

        EPA’s position that the balance of the equities and the public

  interest favor continued application of the FIP wrongly assumes that

  Utah is making a significant contribution. Resp. at 27 (“Staying the Good

  Neighbor Plan would prejudice EPA by leaving no law on the books to

  address Utah’s emissions affecting downwind states.”). But Utah

  reasonably determined that it does not “significantly” contribute to the

  air pollution problem in Colorado. As discussed above and in Utah’s

  Motion, EPA unlawfully disapproved Utah’s SIP and EPA therefore

  cannot be prejudiced by a temporary stay of its unfounded and unlawful

  disapproval. Utah Mot. at 19.

        Moreover, EPA’s excuses for delaying action on Utah’s SIP for two

  years due to an “unexpected rulemaking obligation,” Resp. at 28, does not

  tip the equities in EPA’s favor. See La. Envtl. Action Network v. EPA, 955

  F.3d 1088, 1099 (D.C. Cir. 2020) (rejecting EPA excuse of a “compressed

  schedule” for failure to meet statutory obligation).




                                        8
Appellate Case: 23-9509   Document: 010110886239    Date Filed: 07/11/2023   Page: 13



        Lastly,   the     unrecoverable   time     and   resources    needed    to

  immediately implement the FIP far outweigh EPA’s marginal modeled

  improvement in air quality, particularly considering Colorado’s own

  prediction that Denver will achieve attainment by 2026 with no reduction

  in upwind state emissions. See Industry Pet. Mot., Doc. 10110870119 at

  13.

                                 CONCLUSION

        For these reasons, and the reasons stated in Utah’s Motion, the

  Court should stay EPA’s final disapproval of Utah’s SIP.




                                          9
Appellate Case: 23-9509   Document: 010110886239   Date Filed: 07/11/2023   Page: 14



        Dated: July 11, 2023.
                                      Respectfully submitted,
                                      /s/ Melissa A Holyoak
                                      Sean D. Reyes
                                            ATTORNEY GENERAL OF UTAH
                                      Melissa A. Holyoak
                                            SOLICITOR GENERAL
                                            Counsel of Record
                                      Office of the Attorney General
                                      Utah State Capitol Complex
                                      350 North State Street Suite 230
                                      Salt Lake City, UT 84114-2320
                                      Ph. 801-538-9600
                                      melissaholyoak@agutah.gov
                                      William L. Wehrum
                                      WEHRUM ENVIRONMENTAL LAW LLC
                                      1629 K Street, NW, Suite 300
                                      Washington, D.C. 20006
                                      Ph. 302-300-0388
                                      William_Wehrum@comcast.net
                                      Emily C. Schilling
                                      HOLLAND & HART LLP
                                      222 South Main Street, Suite 2200
                                      Salt Lake City, UT 84101
                                      Ph. 801-799-5753 / Fax 202-747-6574
                                      ecschilling@hollandhart.com
                                      Kristina (Tina) R. Van Bockern
                                      Aaron B. Tucker
                                      HOLLAND & HART LLP
                                      555 Seventeenth Street, Suite 3200
                                      Denver, CO 80202
                                      Ph. 303-295-8107 / Fax 720-545-9952
                                      trvanbockern@hollandhart.com
                                      abtucker@hollandhart.com
                                      Attorneys for Petitioner State of Utah


                                       10
Appellate Case: 23-9509      Document: 010110886239   Date Filed: 07/11/2023   Page: 15



                      CERTIFICATE OF COMPLIANCE

        I hereby certify that this document complies with the format and

  word limit of Fed. R. App. P. 27(d)(1)-(2) because, excluding the parts of

  the document exempted by Fed. R. App. P. 32(f), this document contains

  1,623 words.        This    document    also   complies    with    the   typeface

  requirements of Fed. R. App. P. 27(d)(1)(E) because this document has

  been prepared in a proportionally spaced typeface using Microsoft Word

  in 14-point font.

  Dated: July 11, 2023

                                               /s/ Melissa A. Holyoak


                          CERTIFICATE OF SERVICE

        I hereby certify, pursuant to Fed. R. App. P. 25(c), that the foregoing

  was electronically filed with the Clerk of the Court using the CM/ECF

  system, which will send a notification to the attorneys of record in this

  matter, who are registered with the Court’s CM/ECF system.

  Dated: July 11, 2023

                                               /s/ Melissa A. Holyoak




                                          11
